                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                        CIVIL ACTION NO. 3:16-CV-875-GCM

 HILDA BATES,                                  )
                                               )
                Plaintiff,                     )
                                               )
    v.                                         )         ORDER
                                               )
 TIPPMANN SPORTS, LLC, and                     )
 GAYSTON CORPORATION,                          )
                                               )
                Defendants.                    )
                                               )
    And                                        )
                                               )
 GAYSTON CORPORATION,                          )
                                               )
                Third-Party Plaintiff,         )
                                               )
    v.                                         )
                                               )
 BDX, ENTERPRISES, INC.,                       )
                                               )
                Third-Party Defendant.         )
                                               )

         THIS MATTER IS BEFORE THE COURT sua sponte for the scheduling of a Judicial

Settlement Conference. Pursuant to an Order (Document No. 89) of the Honorable Graham C.

Mullen, the parties have contacted the undersigned’s chambers to schedule a Judicial Settlement

Conference, and a date has been agreed upon.

         IT IS THEREFORE ORDERED that a Judicial Settlement Conference shall convene on

Wednesday, June 26, 2019, at 9:30 a.m. in Courtroom #1-1 of the Federal Courthouse, 401 W.

Trade Street, Charlotte, North Carolina.

         IT IS FURTHER ORDERED that the Clerk of Court shall reserve Courtroom #1-1 and

its attached conference rooms.




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SO ORDERED.



                        Signed: May 14, 2019




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